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Rete ALE Pa NORTHERN DISTRICT OF TEXAS
AO 91 (Rev. 11/11) Criminal Complaint Nes ao Bes oes Bt —_ FILED
UNITED STATES DISTRICT GOURT} AUo 2 2 2019
for the
Northern District of Texas ; “ain U.S. DISTRICT COURT
United States of America ) Deputy
Vv. )
) Case No. 3!IA-MS- 132°7- BN
Opeyemi Abidemi Adeoso )
and )
Benjamin Adeleke lfebajo )
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of June 1, 2015 to present in the county of Dallas in the
Northern District of _Texas and elsewhere _ , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1343 Wire Fraud
18 U.S.C. § 1344 Bank Fraud
18 U.S.C. §§ 1343, 1344, and 1349 Conpsiracy to Commit Wire Fraud and Bank Fraud
18 U.S.C. §§ 1956 and 1957 Money Laundering

This criminal complaint is based on these facts:

See attached affidavit

& Continued on the attached sheet.

A

 

 

Complainant’s signature

Special Agent Thomas R. Cook, FBI

 

Printed name and title

Sworn to before me and signed in my presence.

( J Judge's signature

City and state: Dallas, Texas DAVID L. HORAN, U.S. MAGISTRATE JUDGE

 

Printed name and title
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AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR COMPLAINT

I, Thomas R. Cook, being duly sworn, hereby depose and state as follows:

1. Tam a Special Agent with the Federal Bureau of Investigation (“FBI”),
currently assigned to the Dallas Division, duly appointed and acting according to law. I
have been a Special Agent since August 2014. Prior to becoming a Special Agent, I
worked for two and a half years as an intelligence analyst for the FBI on counterterrorism
investigations. I am currently assigned to the Cyber Task Force of the Dallas Division
and am responsible for conducting investigations of cyber intrusions, business email
compromise, and cyber enabled criminal actors. I have received training in such areas as
electronic and physical surveillance, interviewing witnesses and defendants, financial
analysis, collection of evidence, and the use of confidential informants. I have also
received training regarding computers and digital evidence.

2. The facts in this affidavit come from my personal observations, my training
and experience, information obtained from other agents and witnesses, and my review of
records. This affidavit is intended to show merely that there is sufficient probable cause
for the requested criminal complaint and warrant and does not set forth all of my
knowledge about this matter.

3. This affidavit sets forth facts and suggests reasonable inferences from those
facts establishing that there is probable cause to believe that between at least on or about
June 1, 2015, and August 22, 2019, Opeyemi Abidemi Adeoso (“Adeoso”) and

Benjamin Adeleke Ifebajo (“Ifebajo”) knowingly and intentionally combined,
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conspired, confederated and agreed with other persons, known and unknown to commit
Wire Fraud, Bank Fraud, Conspiracy, and Money Laundering, in violation of 18 U.S.C.
§§ 1343, 1344, 1349, 1956, and 1957.

4. In or about August 2018, agents from the FBI initiated a computer intrusion
investigation regarding allegations and complaints of a business email compromise
(“BEC”) scheme with the fraudulent proceeds being accessed by individuals in the
Dallas-Fort Worth area (“DFW”). The investigation revealed that in or about February
2018, Victim 1, an identified business, sent multiple wires totaling approximately
$504,660.52 to a Dallas based bank account. Further, in or about March 2018, Victim 2,
an identified Dallas area business, sent a wire totaling $179,223.33 to another Dallas
based bank account.

5. Adeoso and Ifebajo first came to the attention of FBI Dallas as a result of
investigative activity following Victim 1’s transfers totaling approximately $504,660.52
to fraudulent accounts. During the course of the investigation it was learned that the
Victims’ funds were disbursed by the alias identity, Daniel Sammy Campbell
(“Campbell”), with an address of 9451 Wickersham Road, Apt 2075, Dallas, Texas. The
investigation revealed Adeoso was the resident of 9451 Wickersham Road, Apt 2075 at
the same time as alias name Campbell. During the course of the investigation, it was
learned that Adeoso was no longer a resident and gave a forwarding address of 6808
Skillman Street, Dallas, Texas. The apartment manager at 6808 Skillman Street
recognized Adeoso’s photograph and confirmed Adeoso’s name was on the lease for
Apartment 6104. Adeoso’s lease stated that his friend, Ifebajo, referred him to the

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apartments at 6808 Skillman Street.

6. During the course of this investigation, records for numerous bank accounts
used during the course of the scheme have been obtained and reviewed. A review of
many of the bank accounts indicated a similar pattern of behavior. That is, the accounts
were set up in alias names, utilizing fraudulent foreign government passports, fraudulent
utility bills, and incorporation documents from the Dallas County Clerk’s Office.
Additionally, none of the businesses appeared to have a significant presence in the DFW
area, in that the companies appear to have been recently formed and/or have no internet
presence, and the individuals did not have a significant identifiable address or financial
history. Shortly after the accounts were opened, the accounts either received BEC wire
proceeds or they received cashier’s checks from other accounts that had received the
BEC wire proceeds. A review of the bank records reveals a pattern of large inflows
immediately followed by outflows via cash, cashier’s check, and occasionally wire
transfer.

7. Based on the individual’s pattern of behavior, the tracing of funds, review
of bank surveillance footage, and contact with some of the financial institutions, FBI
Dallas identified [febajo and Adeoso as two of the primary suspects who were often
involved in withdrawing BEC money from Dallas area financial institutions. Ifebajo is
believed to have utilized numerous aliases including, but not limited to, Joseph Eric
Johnson, Jeremiah Alex Malcolm, Tidwell Anthony Wilson, and Andrew James
Williams. Adeoso is believed to have utilized aliases including, but not limited to, Peter

Kuffor, George Macharty, Nelson Johnson, Braheem Larke, Michael Albert, Michael
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Jaden Sean, Michael Jeff Brown, and Benjamin Zee Brown. Both Ifebajo and Adeoso
have utilized fraudulent foreign passports to support these alias identities as well as to
open multiple bank accounts in the DFW area.

Opeyemi Adeoso

8. During the course of the investigation, immigration records were obtained
for Adeoso. According to the records, Adeoso submitted an application for a Non-
Immigrant Visa on or about June 27, 2014, and again on or about August 4, 2014. The
consular notes indicate Adeoso planned to visit his father’s grave in New York during his
trip to the United States. Adeoso was granted his visa on September 6, 2014, and entered
the United States on October 19, 2014. Adeoso’s wife at the time, Bukola Comfort
Adeoso (“Bukola”) was also granted a visa on September 6, 2014, but did not enter the
United States until May 30, 2015. Notably, Adeoso's marriage was dissolved in Lagos,
Nigeria, on October 10, 2014, nine days before he entered the United States, according to
paperwork he provided to United States Citizenship and Immigration Services.

9. Although, Adeoso was married with children at the time of his application
for a Non-Immigrant visa, he married United States’ citizen Cherria Davis (“Davis”) on
April 17, 2015. Thereafter, Davis petitioned for Adeoso’s permanent status. Shortly after
Bukola arrived in the United States, she moved to Dallas, Texas. A review of cash
withdrawals from Adeoso’s bank accounts in his name as well and his alias accounts,
reveals multiple instances of large cash withdrawals by Adeoso with matching cash
deposits into Bukola's accounts. For example, on December 23, 2015, Adeoso withdrew

$9,500, and Bukola deposited $9,500 that same day; on January 4, 2016, Adeoso
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withdrew $5,000 and the next day Bukola deposited $5,000; and, on February 24, 2016,
Adeoso withdrew $7,000 and the same day Bukola deposited $7,000.

10. Thus far the investigation has revealed that Adeoso began opening bank
accounts in fraudulent names as early as June 2015.

Alias Bank Accounts!
Alias Name: Peter Kuffor

11. Adeoso opened bank accounts at Branch Banking & Trust (“BB&T”) on
BB&T on June 9, 2015, Capital One on June 24, 2015, Wells Fargo on June 24, 2015,
BBVA? on July 3, 2015, Bank of America on J uly 30, 2015, First Convenience Bank on
November 9, 2015, and Chase Bank on November 24, 2015, utilizing the alias Peter
Kuffor (“Kuffor”). Adeoso presented a fraudulent passport from Great Britain bearing
number G0480005, listed his addresses as either 11991 Audelia Rd Apt 1304 or 6246
Ridgecrest Rd, Apartment 1440, 1441, and 1443, and on some occasions provided email
address flavorj] @yahoo.com on the bank accounts’ opening documentation. Adeoso was
photographed when he opened the account at First Convenience Bank on November 9,
2015. For all of the accounts, Adeoso either opened the accounts or conducted

transactions at banking locations in Dallas, Texas.

 

*This section outlines various bank accounts that have been identified during the course of the
investigation as having been opened and used to facilitate the scheme.
“Formerly known as BBVA Compass.
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Alias Name: George Macharty

12. Adeoso opened bank accounts at Wells Fargo on September 3, 2015, Bank
of America on September 8, 2015, First Convenience Bank on October 5, 2015, BBVA
on October 7, 2015, Capital One on October 6, 2015, Chase Bank on October 28, 2015,
and BB&T on November 24, 2015, utilizing the alias George Macharty (“Macharty”).
Adeoso presented a fraudulent passport from Nigeria bearing number AXXXXXXXX to open
the accounts. BBVA made a photocopy of the passport, which included a fraudulent
United States visa with a fraudulent entry stamp purporting to show entry in Atlanta,
Georgia on June 3, 2015. Adeoso listed his United States address as 6244 Ridgecrest Rd,
Apt 1441 and provided email address flavorj1@yahoo.com in the account opening
documentation for three of the bank accounts. For all of the accounts, Adeoso either
opened the accounts or conducted transactions at banking locations in Dallas, Texas.

Alias Name: Johnson Nelson

13. Adeoso opened bank accounts at Bank of America on October 20, 2015,
Capital One on October 21, 2015, BB&T on October 22, 2015, and Woodforest Bank on
January 6, 2016, utilizing the alias Johnson Nelson (“Nelson”). Adeoso presented a
fraudulent foreign passport from Nigeria bearing number AXXXXXXXX and listed his
address 6244 Ridgecrest Rd, Apt 1441. Adeoso listed his email address on the Bank of
America application as flavorj1@yahoo.com, but at Woodforest Adeoso listed his email
address as justonceacademy@gmail.com, the same email address listed on his Non-
Immigrant Visa application. With the exception of Woodforest Bank, Adeoso either
opened the accounts or conducted transactions at banking locations in Dallas, Texas.

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Alias Name: Braheem Larke

14. Adeoso opened bank accounts at Woodforest on November 12, 2015,
BB&T on November 13, 2015, Bank of America on November 13, 2015, Wells Fargo on
November 19, 2015, and Capital One on November 23, 2015, utilizing the alias Braheem
Larke “Larke”). Adeoso presented a fraudulent passport from Ghana bearing number
G0268266, and listed his address as 6244 Ridgecrest Rd Apt 1440 and 1441. Adeoso
listed his email address with on the Bank of America application as
justonceacademy@gmail.com and at Woodforest as flavorj1@yahoo.com. With the
exception of BB&T and Woodforest Bank, Adeoso either opened the accounts or
conducted transactions at banking locations in Dallas, Texas.

Alias Name: Michael Albert

15. | Adeoso opened bank accounts at Wells Fargo on February 2, 2016, First
Convenience Bank on February 4, 2016, Chase Bank on February 5, 2016, City Bank of
Texas on February 11, 2016, and Capital One on February 11, 2016, utilizing the alias
Michael Albert (“Albert”). Adeoso presented a fraudulent passport from Nigeria bearing
number AXXXXXXXX to open the accounts. City Bank of Texas made a photocopy of the
passport which included a fraudulent United States visa, control number
20152241270008 with a fraudulent entry stamp purporting to show entry to Atlanta,
Georgia on June 11, 2015. Adeoso listed his email address on the Chase Bank application
as justonceacademy@gmail.com. For all of the accounts, Adeoso either opened the

accounts or conducted transactions at banking locations in Dallas, Texas.
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BEC Wire Proceeds into Adeoso’s 2015 and 2016 Alias Accounts

16. Thus far, the investigation has shown that between in or about July 2015,
and March 2016, Adeoso utilized these five alias names to receive at least approximately
$423,285 in wire fraud proceeds from victim companies throughout the United States.
According to the investigation thus far, it appears that each of the victims received a
spoofed email instructing them to wire funds to Adeoso’s accounts. After each wire
transfer, the funds were subsequently withdrawn from the account via cashier’s checks or
cash withdrawals. Funds were often then commingled into Adeoso’s other accounts.
Additionally, bank records reveal wire transfers and Moneygrams back to Nigeria.

17. The below chart lays out the date of the wire transfer, the bank account, the
alias name used, the amount of the wire, and a masked version of the victim company.
This chart only includes wires sent to Adeoso’s accounts. The chart does not include
spoofed emails that requested additional funds, it does not include unsuccessful spoofed
emails that did not result in a wire transfer, nor does it detail Adeoso commingling and
laundering of other BEC frauds. Some of the funds were recovered by the victim
companies, but many of the victims suffered a total loss. Thus far, the investigation has

identified nineteen victims with losses.
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Victim

# Date Bank Alias | Amount Masked?
1 7/31/2015 | BBVA Kuffor $18,500 BBI

2 | 8/11/2015 BBT Kuffor $15,950 CC

3. | 9/23/2015 BOFA | Macharty | $14,500 UPT
4 | 9/28/2015 WE Macharty | $14,500 NDS

5_| 10/13/2015 | CapOne | Macharty | $14,500 GWLS
6 | 11/3/2015 BBT Johnson | $14,950 QL

7 | 11/5/2015 | CapOne | Johnson | $19,850 PA

8 | 11/6/2015 | BOFA | Johnson | $19,850 C

9 | 11/16/2015 | JPMC | Macharty | $19,850 SPKC
10 | 11/23/2015 | Wood Larke $14,850 HSP
11 | 11/24/2015 BBT Larke $14,850 ASC
12 | 11/25/2015 | BOFA Larke $14,850 NM
13 | 12/18/2015 BBT | Macharty | $19,850 ACDTC
14 | 12/18/2015 | CapOne Larke $19,850 CTC
[5 | 12/23/2015 | JPMC | Macharty | $39,850 GPI
16 | 2/16/2016 JPMC Albert $19,350 CCH
17 | 2/18/2019 | JPMC Albert $39,450 CCH
18 | 3/11/2016 | BOFA Albert $9,600 LAS
19 | 3/11/2016 CBoT Albert $9,600 MM
20 | 3/11/2016 | CapOne | Albert $9,600 NP
21 | 3/14/2016 | CapOne | Albert | $19,450 NP
22 | 3/15/2016 WE Albert $39,685 NP

Total $423,285 19 Victims

 

 

 

 

BEC Wire Proceeds into Adeoso’s 2018 and 2019 Alias Accounts
18. Between January 2018 and June 2019, Adeoso utilized at least three
additional alias names to receive at least $577,520.30 in wire fraud proceeds from victim
companies throughout the United States. Adeoso also utilized his alias names and bank
accounts to launder the proceeds of other BEC frauds by depositing cashier's checks and

then subsequently withdrawing cash or further laundering the proceeds.

 

5] know the name of the victim entity; however, in order to protect the victim entities
information, their names are not being included in this affidavit.

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Alias Name: Michael Jeff Brown
19. | Adeoso opened bank accounts at BBVA on January 3, 2018, and Bank of
America on January 31, 2018, utilizing the alias Michael Jeff Brown (““M. Brown”) and
business name Pathfinder Global Ventures. Adeoso presented a fraudulent passport from
Great Britain bearing number 587423962 and Bank of America scanned a copy of the
passport to its files. Adeoso listed his address at BBVA as 9850 Whitchurst Drive, Apt
1009 and also provided business incorporation paperwork from Dallas County and IRS
tax employer ID number of XX-XXXXXXX. For both accounts, Adeoso either opened the
accounts or conducted transactions at banking locations in Dallas, Texas.
Alias Name: Michael Jaden Sean
20. | Adeoso opened bank accounts at BBVA on May 11, 2018, Bank of
America on May 30, 2018, and Wells Fargo on July 24, 2018, utilizing the alias Michael
Jaden Sean (“Sean’’) and business name Reality Retails and Equipment. At all three
banks, Adeoso presented a fraudulent passport from Great Britain bearing number
591189762. At Bank of America he also presented his debit card from BBVA, and at
Wells Fargo he presented a debit card from Chase Bank. For all of the accounts, Adeoso
either opened the accounts or conducted transactions at banking locations in Dallas,
Lexas,
Alias Name: Benjamin Zee Brown
21. Adeoso opened bank accounts at Chase Bank on October 17, 2018, Wells
Fargo on March 1, 2019, and at Bank of America on May 17, 2019, utilizing the alias
Benjamin Zee Brown (“B. Brown”) and the business name Reality Ventures and

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Logistics. At Wells Fargo, Adeoso presented a fraudulent passport from Great Britain
bearing number 812548790, as well as business incorporation documents from Dallas
County, IRS Tax Employer [ID XX-XXXXXXX, and a debit card from Chase Bank. At Bank
of America, Adeoso utilized the same IRS Tax Employer ID. For all of the accounts,
Adeoso either opened the accounts or conducted transactions at banking locations in
Dallas, Texas.

22. Between February 2018 and May 2019, Adeoso utilized accounts he
opened in the three aliases, M. Brown, Sean, and B. Brown, names to receive at least
approximately $577,520.30 in wire fraud proceeds from victim entities throughout the
United States. The below chart identifies the date of the wire transfer, the bank account,
the alias name used, the amount of the wire, and a masked version of the victim
company. After each wire transfer, the funds were subsequently withdrawn from the
account via cashier’s checks or cash withdrawals. Funds were often commingled into

Adeoso’s other accounts.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Victim
# Date Bank Alias Amount Masked
1 | 2/15/2018 | BOFA | M. Brown $22,630 QAS
2 | 4/16/2018 | BBVA | M. Brown $121,176 CSF
3 | 4/30/2018 | BBVA | M. Brown | $433,714.31** CSF
4 | 6/5/2018 | BBVA Sean $6,488 MI
5 | 8/22/2018 WE Sean $51,000 VME
6 5/7/2019 WF B. Brown $33,618 RTE
Total $ 577,520.30 | 5 Victims

 

 

 

 

 

 

* This wire was revered by BBVA shortly after the funds entered M. Brown’s account.

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23. The below chart depicts the laundering of BEC fraud proceeds from other
individuals both known and unknown. The chart lays out the date of the deposit, the
bank, the alias used, the amount of cashier's check, the source of the cashier's check if
known, the source’s bank, and the victim if known. Adeoso has deposited at least

approximately $621,393.77 between June 2018 and June 2019.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Source Remitter is a | Victim
# Date Bank Alias Amount Bank Known Alias || Masked
1 6/15/2018 | BOFA Sean $98,000 Chase No BH
2 7/30/2018 WF Sean $25,888 Chase No xX
3 | 11/20/2018 | Chase | B. Brown | $71,230 SunTrust No x
4 12/5/2018 | Chase | B. Brown | $4,000 BBT Yes x
5 | 12/10/2018 | Chase } B. Brown | $43,480 BBVA Yes xX
6 | 4/12/2019 | BOFA | B. Brown | $28,900 Regions No x
7 | 4/12/2019 WF | B.Brown | $70,000 Cap One No x
8 | 4/25/2019 WF |B. Brown | $97,520 Chase Yes FFC
9 5/8/2019 WF |B. Brown | $25,000 Chase Yes x
10 5/9/2019 WF |B. Brown | $19,500 BOFA No x
11 | 5/13/2019 | BOFA | B. Brown | $43,200 Chase No x
12 | 5/30/2019 WF | B. Brown | $17,300 BOFA No xX
13 | 5/30/2019 WF | B. Brown | $51,625 BOFA No x
14 | 6/14/2019 WF |B. Brown | $25,750 Chase No x

Total $621,393.77

 

 

 

 

 

 

 

 

 

 

Benjamin Ifebajo

24. During the course of the investigation, immigration records were obtained
for Ifebajo. According to the records, Ifebajo submitted an application for a Non-
Immigrant Visa on or about July 3, 2015, and the consular notes indicate Ifebajo planned
to attend a wedding in Texas for seven days. Ifebajo listed his point of contact as Cherria

Davis, and listed his email address as benvicschools@gmail.com. As referenced above,

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Cherria Davis married Adeoso on April 17, 2015. Ifebajo was granted his visa on or
about August 25, 2015, and entered the United States on or about October 18, 2015.

25. On November 24, 2015, United States Customs and Border Patrol (“CBP”)
seized a DHL package containing two fraudulent passports in an alias names Chris
Hammington and James Alexander. The passports had fraudulent visa numbers and
admission entry stamps that CBP deemed to be counterfeit. The fraudulent documents
were intended for Ifebajo's then residence at 11911 Audelia Road, Dallas, Texas, which
was the same address Ifebajo listed in his Non-Immigrant Visa Application.

Alias Bank Accounts
Jeremiah Alex Malcolm

26. — Ifebajo opened bank accounts at Chase Bank on November 20, 2017, Wells
Fargo on November 21, 2017, and BB&T on November 22, 2017, utilizing the alias
Jeremiah Alex Malcolm (“Malcolm”) and the business name Breakthrough Auto Links.
Ifebajo utilized a fraudulent passport from Great Britain bearing number 597632148 to
open the account. BB&T surveillance photographs from inside the bank and the ATM
show Ifebajo engaged in banking transactions under the alias Malcolm. For all of the
accounts, Ifebajo either opened the accounts or conducted transactions at banking
locations in Dallas, Texas.

Andrew James Williams

27.  Ifebajo opened bank accounts at Bank of America on May 30, 2018, Wells
Fargo on June 13, 2018, and BBVA on June 13, 2018, utilizing the alias Andrew James
Williams (“Williams”) and business name Williams Retails and Equipments [sic]. Ifebajo

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utilized a fraudulent passport from Great Britain bearing number 506108928 to open the
account. When the BBVA account was opened BBVA personnel scanned a copy of the
fraudulent passport Ifebajo utilized to open the account. With the exception of BBVA,
Ifebajo either opened the accounts or conducted transactions at banking locations in
Dallas, Texas.

Joseph Eric Johnson
28. — Ifebajo opened bank accounts at Chase Bank on October 25, 2018, BB&T

on October 26, 2018, BBVA on November 15, 2018, and Wells Fargo Bank on
November 26, 2018, utilizing the alias Joseph Eric Johnson (“Johnson”) and business
name Reality Global Equipments [sic]. Ifebajo utilized a fraudulent Namibian passport
bearing number P625190, business incorporation documents from Dallas County, and an
IRS Tax Employer ID XX-XXXXXXX to open the account. When the BBVA account was
opened, BBVA personnel scanned a copy of the fraudulent Namibian passport Ifebajo
used to open the account. Further, Chase, BB&T, and Wells Fargo all have surveillance
video and/or still images showing Ifebajo engaging in banking transactions under the
alias Johnson. On the accounts’ opening documentation, Ifebajo listed the address 3931
Leeds Ct, Garland, Texas, which was shared with two females who were also believed to
be engaging in BEC fraud schemes and sending money to Ifebajo. For all of the accounts,

Ifebajo either opened the accounts or conducted transactions at banking locations in

Dallas, Texas.

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Tidwell Anthony Wilson

29.  Ifebajo opened bank accounts at Bank of America on January 8, 2019,
Capital One on January 30, 2019, Chase Bank on January 30, 2019, and BBVA on
February 7, 2019, utilizing the alias Tidwell Anthony Wilson (“Wilson”) and business
name WillyTidy Venture and Service. Ifebajo presented a fraudulent passport from Sierra
Leone bearing number ER412575 to open the account. Capital One has surveillance
video from their A‘l’M and inside the bank that show Ifebajo engaged in the banking
transactions under the alias Wilson. With the exception of BBVA, Ifebajo either opened
the accounts or conducted transactions at banking locations in Dallas, Texas.

BEC Wire Proceeds into Ifebajo’s Alias Accounts

30. | Between February 2018 and January 2019, Ifebajo utilized accounts he
opened in the aliases, Williams, Johnson, and Wilson, names to receive at least
$1,227,817 in wire fraud proceeds from victim entities throughout the United States.
According to complaints and victim interviews, the victims received a spoofed email
from someone pretending to be from their company and directing them to wire funds to
Ifebajo’s accounts. The below chart identifies the date of the wire transfer, the bank
account, the alias name used, the amount of the wire, and a masked version of the victim
company. After each wire transfer, the funds were subsequently withdrawn from the

account via cashier’s checks or cash withdrawals. Funds were often commingled into

Ifebajo’s other accounts.

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# Date Bank Alias Amount Victim Masked
] 2/5/2018 Chase | Malcolm $39,710 TJH

2 2/8/2018 BBT Malcolm $39,150 RFG

3 2/13/2018 BBT Malcolm $49,620 RFG

4 2/20/2018 BBT Malcolm $96,740 RFG

5 2/23/2018 BBT Malcolm $316,200 RFG

6 6/15/2018 | BOFA | Williams $27,980 JFT

7 8/13/2018 WE Williams $48,880 eT

8 12/19/2018 | BBVA | Johnson $100,000 JT

9 1/4/2019 | BBVA | Williams $509,536 MC

Total $1,227,816 6 Victims

 

 

 

31. — Ifebajo also utilized his alias bank accounts to launder the proceeds of other
BEC fraud schemes. Between January 2018 and February 2019, Ifebajo deposited a total
of approximately $593,577.31, typically in the form of cashier’s checks, into bank
accounts he controlled. The below chart identifies the date of the wire transfer, the bank

account, the alias name used, the amount of the wire, and a masked version of the victim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

company.
Source | Remitter is a | Victim
# Date Bank Alias Amount Bank Known Alias || Masked
1 1/31/2018 WE Malcolm | $36,800.00 Chase Yes x
2 | 2/21/2018 WE Malcolm | $42,500.00 Chase No CE
3 2/21/2018 WE Malcolm | $35,200.00 BBT Yes RFG
4 | 2/26/2018 WF Malcolm | $79,700.82 BBT Yes RFG
5 3/5/2018 WE Malcolm | $58,800.00 Chase No cs
6 | 11/7/2018 Chase | Johnson | $19,850.00 WF No xX
7 | 11/23/2018 | Chase | Johnson | $38,480.05 Chase Yes Xx
Bank of
11/26/2018 WF Wilson | $90,000.00 | the West No x
9 | 12/8/2018 Chase | Johnson | $58,885.00 | BBVA No TMS
10 | 12/19/2018 | BBVA | Johnson | $24,860.05 Chase Yes GC
11 | 1/14/2019 | BOFA | Wilson | $8,045.88 WF No xX
12} 2/4/2019 WF Johnson | $65,200.00 Chase Yes x
13 | 2/15/2019 | CapOne} Wilson | $35,255.51 Chase No Xx
TOTAL $593,577.31 5 Known Victims

 

 

 

 

 

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32. Based on the review of bank records, the tracing of funds, a review of email
communications, and another analysis, your affiant believes that Adeoso and Ifebajo may
be utilizing and/or controlling additional aliases and business names. That is, your affiant
believes that Adeoso and Ifebajo are potentially utilizing, controlling, or coordinating
with the following additional aliases and/or individuals: Ruben Scott, Scott Solomon,
Anthony Anderson dba Anderson Auto, Peter Marcharty dba West Cool Global Ventures,
Michele Angel Cole, Deborah Kiki Philip, Christiana Andrea Johnson, Eric Steven
Moore, James Louis Hamilton, Isaac John Fortune dba Galaxy Links Ventures, Malcolm
John Tayloy, Peter Darko, Andrew Mpho James, Mary A Adams, Michael R Campbell,
Mattew Osborne, Anthony S Turner, and Daniel Campbell dba Brainstorm Global Links.

Assets to be Seized?

33.  Adeoso and Ifebajo have opened bank accounts at various bank branches
throughout the Dallas-Fort Worth metroplex. In order to travel to the various bank
branches, both Ifebajo and Adeoso have driven to the banks. In addition, FBI surveillance
has observed Ifebajo park approximately 500 yards from a target bank and walk to the
bank, presumably to avoid his vehicle showing up on bank surveillance footage. Ifebajo
and Adeoso have also been seen walking up to drive-thru ATMs to withdraw cash or

make deposits. In another attempt to disguise their identities, Adeoso and Ifebajo

 

° Via separate affidavit, I will submit seizure warrant applications seeking to seize assets, specifically two
motor vehicles (2015 Chevrolet Camaro; 2011 Mercedes Benz E350) that Adeoso and has utilized to

facilitate this fraudulent scheme.

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frequently employ temporary paper “dealer tags” to avoid detection. These dealer tags are
often registered in fictional names to obscure the connection back to Adeoso and Ifebajo.

34. Further, Adeoso and Ifebajo have created companies which allegedly deal
in the buying and selling of cars. Adeoso's company, Just Once Auto Global Ventures, is
located at 9550 Forest Lane, Suite 332, Dallas, Texas. Ifebajo's company, Benvic Auto
Ventures, is located in the same building, 9550 Forest Lane, Suite 339, Dallas, Texas. On
some occasions, Adeoso and Ifebajo have used their 9550 Forest Lane address as the
address for their alias identities. For example, Benvic Auto Global Ventures and Willy
Tiddy Retail both have addresses at 9550 Forest Lane.

35. Via separate affidavit, I will submit search warrant applications seeking to
search three locations and a storage unit, that is, 6808 Skillman Street, Apartment 6104,
Dallas, Texas and Storage Unit $604, 430 East Buckingham Road, Apartment 321,
Richardson, Texas, and 9550 Forest Lane Suite 332 and 339, that I have probable cause
to believe contains evidence of the offenses described in this affidavit and/or contraband.

36. Further, via separate affidavit, I will submit applications for search warrants
to search additional email accounts utilized during the course of this scheme. Thus far in
the investigation, search warrants have been obtained by the District of North Dakota,
and results of those have been provided to the FBI Dallas. A review of the records
obtained revealed numerous email contacts between Adeoso’s email account and two

suspected alias names, Ruben Scott ("Scott") and Ray Meek ("Meek").

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37. The typical communication pattern was Adeoso emailed Scott or Meek
with the details of bank accounts created in the DF W area. Often, Ifebajo emailed Adeoso
with details on bank accounts, and then Adeoso forwarded the information to Scott or
Meek. On multiple occasions, Scott or Meek responded with the names of victims of the
BEC fraud schemes. A review of the emails revealed at least 50 banks accounts that were
previously unknown to investigators and appeared to be controlled or utilized by Adeoso
and Ifebajo.

38. | Based upon the aforementioned information, I have probable cause to
believe that between on or about June 1, 2015, and August 22, 2019, Opeyemi Adeoso
and Benjamin Ifebajo and others known and unknown, knowingly and intentionally
combined, conspired, confederated and agreed with other persons, known and unknown
to commit Wire Fraud, Bank Fraud, Conspiracy, and Money Laundering, in violation of
18 U.S.C. §§ 1343, 1344, 1349, 1956, and 1957,), in the Northern District of Texas and
elsewhere. Although the investigation remains ongoing and additional bank records have

yet to be analyzed, between on or about June 1, 2015, and August 23, 2019, Adeoso and

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Ifebajo have collectively received and laundered BEC wire fraud proceeds in excess of
$3,443,592.38. Therefore, I respectfully submit this affidavit in support of a criminal

complaint and request a warrant be issued for the arrest of Opeyemi Adeoso and

2 2—

THOMAS R. COOK
Special Agent
Federal Bureau of Investigation

Benjamin Ifebajo.

Subscribed/and sworn to before me on the 42 } day of August, 2019

EA:

DAVID L. HORAN

United States Magistrate Judge
Northern District of Texas
Dallas Division

 

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